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4                             UNITED STATES DISTRICT COURT

5                         EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                  No.    2:13-cr-00353-GEB
8                  Plaintiff,
9         v.                                    ORDER UPWARDLY DEPARTING FOUR
                                                OFFENSE LEVELS UNDER 18 U.S.C.
10   EMILIANO CORTEZ-GARCIA,                    § 3553(b)
11                 Defendant.
12

13             The government moves for upward departure from the 41

14   to 51 months advisory guideline sentencing range that Probation

15   found applicable to Defendant’s impending sentence, arguing that

16   two aggravating circumstances are not taken into account by the

17   guidelines and justify this upward departure.                   Specifically, the

18   government     argues:       “The        defendant’s    criminal        conduct   –

19   manufacturing and selling untraceable AR-15-style guns on the

20   black market – is egregious and warrants a significant sentence

21   to reflect the seriousness of the offense.” Gov’t’s Sentencing

22   Memorandum 1:20-22, ECF 101.

23             The district court has the “legal authority to depart

24   under 18 U.S.C. § 3553(b), which requires the presence of an

25   aggravating    circumstance         of    kind    or   degree    not     adequately

26   considered    by   the    Commission       in    formulating    the    Guidelines.”

27   United States v. Beasley, 90 F.3d 400, 402 (9th Cir. 1996). “To

28   determine if a departure is appropriate, the district court must
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1    make a refined assessment of the many facts that bear on the [the

2    departure]   outcome.”   Koon   v.   United   States,   518   U.S.   81,   82

3    (1996).

4              The government argues as follows that the guidelines

5    fail to account for the aggravating circumstances involved with

6    defendant’s weapon trafficking criminal activities:

7              Under §2K2.1(b)(5), a defendant is subject to
               a four-level enhancement where ‘the defendant
8              engaged in the trafficking of firearms.’
               Trafficking warrants an enhancement because
9              it accounts for the increased harm from a
               criminal putting guns in the hands of people
10             that should not have guns. This is exactly
               what    the    defendant     was   engaged    in.
11             Nonetheless, Application Note 13 limits this
               guideline enhancement to cases where (1) a
12             defendant sold two or more guns and (2) knew
               that the gun buyer was prohibited to possess
13             a gun or intended to use the gun unlawfully.
               The defendant manufactured and sold more than
14             two guns. However, as noted by the Probation
               Officer, there was no direct evidence that
15             the defendant knew that the black market gun
               buyers he sold to were legally prohibited
16             from possessing a gun – i.e. the gun buyers
               didn’t tell the defendant that they were
17             felons or wanted to commit crimes. The
               guidelines do not consider the circumstantial
18             evidence of the defendant’s knowledge – (1)
               payments accepted in cash only; (2) guns sold
19             without   required    documentation    from   the
               Bureau of Alcohol, Tobacco, Firearms and
20             Explosives and the California Department of
               Justice,    Bureau   of    Firearms;   (3)   guns
21             manufactured     without    statutorily-required
               serial numbers and manufacturer stamps; (4)
22             guns sold without mandated waiting periods;
               and (5) guns sold at above-market prices.
23             Without     taking      these    factors     into
               consideration,      the     present     guideline
24             calculation does not account for the fact
               that the defendant was selling guns at all.
25
               Second, the guidelines fail to account for
26             the untraceable guns sold by the defendant.
               Under §2K2.1(b)(4)(B), a defendant is subject
27             to a four-level enhancement where any firearm
               has   “an  altered   or   obliterated  serial
28             number.” Obliterated serial numbers warrant
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1                an enhancement because it “discourage the use
                 of untraceable weaponry.” United States v.
2                Carter, 421 F.3d 909, 915 (9th Cir. 2005).
                 The defendant sold untraceable AR-15-style
3                rifles   .   .   .  without   serial   numbers.
                 Nonetheless,    the    guideline    enhancement
4                designed to discourage untraceable weaponry
                 does not apply. See United States v. Seesing,
5                234 F.3d 456, 460 (9th Cir. 2000) (holding
                 that the enhancement did not apply to a
6                homemade silencer despite the fact that this
                 ‘apparent    loophole’   in   the    Guidelines
7                “frustrated” the purpose of §2K2.1(b)(4)).
                 The defendant put untraceable guns onto the
8                street and the guidelines fail to take this
                 into account.
9
                 Accordingly, because the guidelines fail to
10               account for the defendant’s black market gun
                 sales and the fact that the defendant was
11               putting untraceable weaponry onto the street,
                 the Court should apply a four-level upward
12               departure.

13   Gov’t’s Sentencing Memorandum 3:13-4:28, ECF 101.

14               The government is correct.            Paragraphs 14 and 15 in the

15   Presentence Report contain factual findings establishing that on

16   September    23,    2013,    Defendant        “assembled      a    completed      short-

17   barreled AR-15 rifle and sold it [to a law enforcement agent]

18   with a large magazine repair kit and other accessories for $1,180

19   total[;    and    o]n     October   3,   2013,    in    the       same    manner    [on]

20   September 23, 2013 . . . agents [purchased] a manufactured AR-15

21   rifle,    seven    large-capacity        magazine      repair      kits,    and    other

22   accessories from Emiliano at his business in Fresno for $1,815.”

23   Paragraph 16 of the Presentence Report contains the following

24   undisputed facts about the purchases: “No                background        checks     or

25   forms     were     ever    completed      for     the    agent       at     Emiliano’s

26   business. The firearms sold at the business did not have any

27   serial numbers.”

28               However,       the   government      did    not       make    same    upward
                                               3
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1    departure argument to the Probation Officer assigned to prepare

2    the Presentence Report (“PSR”) that it makes in its sentencing

3    memorandum.          The Probation Officer concluded in paragraph 85 of

4    the PSR: “The probation officer has not identified any factors

5    that would warrant a departure.”

6                   Defendant      responded        to      the     government’s      upward

7    departure       request       stating     in     his      Supplemental      Sentencing

8    Memorandum:          “The government’s sentencing memorandum likely meets

9    the notice requirement as ‘a party’s prehearing submission” to

10   request a departure.             FRCrP 32(h).”            Defendant’s Supplemental

11   Sentencing Memorandum 2:3-4, ECF 103.                  During the sentencing held

12   on December 9, 2016, Defendant conceded that the upward departure

13   notice requirement has been satisfied.

14                  The     parties’      Plea      Agreement        appears     to     have

15   contemplated the extent of the upward departure the government

16   seeks    since       the   parties   include        the   following    in    the   Plea

17   Agreement: “The government will recommend that the defendant be

18   sentenced to a term of incarceration of at least 63 months but no

19   more    than    78     months,    after   consideration         of   the   Presentence

20   Investigation Report.”            Plea Agreement 6:20-22, ECF 95. If the
21   government’s         upward   departure     is      granted,    Defendant’s      offense

22   level would be increased four levels, thereby changing it to 25,

23   and his resulting advisory guideline range to 63 to 78 months.

24                  Concerning sentencing the Probation Officer states in

25   pertinent part in the “justification” section of the PSR:

26                  There appears to be a lack of mitigating
                    factors in this case. [Defendant] milled
27                  several assault-style firearms, later opened
                    his own business in Fresno, and personally
28                  sold two AR-15 assault rifles.   [Defendant]
                                          4
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1                 sold and caused to be sold these highly
                  dangerous weapons without regard to whom they
2                 were being sold. The probation officer
                  considers this a significant aggravating
3                 factor and recommends a sentence at the high
                  end of the advisory guideline range, as it is
4                 deemed sufficient but not greater than
                  necessary to comply with all the factors set
5                 forth in 18 U.S.C. § 3553(a).

6                 This justification section is adopted except for the

7    portion     opining     what   precise   sentence    is    sufficient   but   not

8    greater than necessary to comply with all the factors set forth

9    in    18   U.S.C.   §   3553(a).    Considering      the    salient   sentencing

10   factors in 18 U.S.C. § 3553(a) of reflecting the seriousness of

11   the    offense,     promoting    respect     for   the    law,   providing    just

12   punishment for the offense, and affording adequate deterrence to

13   criminal conduct, a sentence of 72 months is sufficient but not

14   greater than necessary to comply with federal sentencing law.

15   Dated:     December 9, 2016

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